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                                                           CLERKS OFFICE U.S. DIST. COURT
                                                                    AT CHARLOTTESVILLE, VA
                                                                          FILED
                                                                       11/19/2018
                         UNITED STATES DISTRICT COURT               JULIA C. DUDLEY, CLERK
                     FOR THE WESTERN DISTRICT OF VIRGINIA           BY: /s/ J. JONES
                              Charlottesville Division                 DEPUTY CLERK

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                               Plaintiffs,

    v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES ALEX
   FIELDS, JR., VANGUARD AMERICA,
   ANDREW ANGLIN, MOONBASE HOLDINGS,
   LLC, ROBERT “AZZMADOR” RAY, NATHAN            Civil Action No. 3:17-cv-00072-NKM
   DAMIGO, ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW HEIMBACH,
   MATTHEW PARROTT a/k/a DAVID
   MATTHEW PARROTT, TRADITIONALIST               JURY TRIAL DEMANDED
   WORKER PARTY, MICHAEL HILL, MICHAEL
   TUBBS, LEAGUE OF THE SOUTH, JEFF
   SCHOEP, NATIONAL SOCIALIST
   MOVEMENT, NATIONALIST FRONT,
   AUGUSTUS SOL INVICTUS, FRATERNAL
   ORDER OF THE ALT-KNIGHTS, MICHAEL
   “ENOCH” PEINOVICH, LOYAL WHITE
   KNIGHTS OF THE KU KLUX KLAN, and EAST
   COAST KNIGHTS OF THE KU KLUX KLAN
   a/k/a EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                              Defendants.

                     STIPULATION AND ORDER FOR THE
          IMAGING, PRESERVATION, AND PRODUCTION OF DOCUMENTS




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         WHEREAS the Plaintiffs having engaged a discovery vendor to image, preserve, and

  produce information relevant to the Action in a manner consistent with the Federal Rules of Civil

  Procedure; and

         WHEREAS certain Defendants have expressed an inability to image, preserve, and

  produce Electronically Stored Information (“ESI”) in a manner consistent with the Federal Rules

  of Civil Procedure; and

         WHEREAS the Plaintiffs and Defendants Christopher Cantwell, Nathan Damigo,

  Matthew Heimbach, Michael Hill, Identity Evropa, Jason Kessler, League of the South, Eli

  Mosley, Nationalist Front, National Socialist Movement, Matthew Parrott, Robert Ray, Jeff

  Schoep, Richard Spencer, Traditionalist Worker Party, Michael Tubbs, and Vanguard America

  (collectively, the “Defendants,” and with Plaintiffs, the “Parties”) having stipulated and agreed to

  the terms set forth herein;

         IT IS hereby ORDERED as follows:

  I.     GENERAL PROVISIONS AND DEFINITIONS

         1.      Scope of Order: This Stipulation and Order governs the Parties’ agreement to

  permit the Third Party Discovery Vendor to collect and preserve evidence from Defendants’

  Electronic Devices that is potentially relevant to this litigation and/or responsive to Plaintiffs’

  Discovery Requests. Plaintiffs have already conducted a collection from Plaintiffs’ Electronic

  Devices and Social Media Accounts of ESI that is potentially relevant to this litigation and/or

  responsive to Defendants’ requests for production, consistent with the terms of this Stipulation

  and Order. The purpose of this Stipulation and Order is to ensure that Defendants conduct a

  collection and production commensurate with their obligations under the Federal Rules of Civil

  Procedure and Plaintiffs’ collection and production. The Parties understand that their obligation

  to preserve, collect, and produce Documents relevant to this litigation is mutual and ongoing.


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        2.    Definitions: As used herein:

                 i.   “Action” refers to the above-captioned litigation, Sines, et al. v. Kessler, et

                      al., No. 3:17-cv-00072 (W.D. Va.).

               ii.    “Discovery Requests” refers to Plaintiffs’ [Corrected] First Set of

                      Documents Requests, dated January 25, 2018; Plaintiffs First Set of

                      Interrogatories, dated January 25, 2018; and any other discovery requests

                      served by Plaintiffs in this Action.

               iii.   “Document” shall be construed broadly to include any original,

                      reproduction or copy of written or documentary material, ESI (as defined

                      below), howsoever stored, or drafts thereof, including, but not limited to,

                      correspondence, memoranda, and other communications. The term

                      “Document” shall also encompass the use of the term “Documents” as

                      contemplated by Fed. R. Civ. P. 34(a) including, without limitation,

                      Documents maintained in paper form. The term “Document” as used in

                      this Stipulation and Order is synonymous with “file.”

               iv.    “Electronic Device” shall be construed to include computer networks,

                      mainframe computers, desktop computers, laptop computers, smartphones,

                      tablet computers, gaming devices, hard drives and/or electronic storage

                      systems and/or devices (whether accessed via a network or locally). For

                      purposes of clarification, storage devices include external hard drives,

                      portable jump or thumb drives, CDs, DVDs, and any other electronic data

                      storage device.




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               v.   “Electronically Stored Information” or “ESI” shall be construed to mean

                    all digital or analog electronic files, including ‘deleted’ files and file

                    fragments, stored in machine-readable format on magnetic, optical or

                    other storage media, including phones, tablets, laptops, desktop

                    computers, and any hard drives or backup media used by the Parties (e.g.,

                    other external hard drives, backup drives or tapes, flash drives, or any

                    other storage media used for storing backups) or otherwise, whether such

                    files have been reduced to paper printouts or not. This includes all e-

                    mails, both sent and received; all word-processed files, including drafts

                    and revisions; all spreadsheets, including drafts and revisions; all

                    databases; all CAD (computer aided design) files, including drafts and

                    revisions; all presentation data or slide shows produced by presentation

                    software (such as Microsoft PowerPoint); all graphs, charts, and other data

                    produced by project management software (such as Microsoft Project); all

                    data generated by calendaring, task management and Personal Information

                    Management (PIM) software (such as Microsoft Outlook or Lotus Notes);

                    all data created with the use of smartphones or any other mobile smart

                    device including Personal Data Assistants (“PDA’s”); all data created with

                    the use of document management software; all data created with the use of

                    paper and electronic mail logging and routing software; all internet and

                    web-browser-generated history files, caches and “cookies” files; and any

                    and all other files generated through the use of computers, video, audio

                    recording, image, instant messages, posts to social media, text messages,




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                        gaming and collaboration web services or information and/or

                        telecommunications, including but not limited to voice mail and cloud

                        storage. ESI shall not include any file created by a machine or any files

                        necessary for the normal operation of a computer system. The term “ESI”

                        as used in this Stipulation and Order shall also encompass the meaning of

                        “electronically stored information” as used in Fed. R. Civ. P. 34(a).

                  vi.   The act of creating an “image” or “imaging” as used herein refers to

                        creating an electronic copy that captures all ESI related to that device or

                        account without the alteration of metadata associated with that account.

                   vii. “Metadata” refers to the fields set forth below to the extent that such fields

                        are available in the source Document.

          Field                                        Comments
      BegBates          Beginning Bates number
      EndBates          Ending Bates number
      BegAttach         Bates number of the first page of a family range
      EndAttach         Bates number of the last page of a family range
      PageCount         Number of pages in a Document.
      FileExtension     Original file extension as the Document was maintained in the
                        ordinary course
      FileSize          File size in bytes
      DocTitle          Document title as stored in file metadata
      Custodian         Full name of all applicable custodians
      Author            Document author information for non-email
      From              Email FROM
      To                Email TO
      Cc                Email CC
      BCC               Email BCC
      Subject           Email Subject
      Attachments       Name of attached file(s) as maintained in the ordinary course of
                        business
      DateCreated       File date created MM/DD/YYYY
      DateModified      File date modified MM/DD/YYYY


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      DateSent           Date sent MM/DD/YYYY
      TimeSent           Time sent HH:MM:SS AM/PM
      DateReceived       Date received MM/DD/YYYY
      TimeReceived       Time received HH:MM:SS AM/PM
      DateStarted        Date started MM/DD/YYYY
      DateEnded          Date ended MM/DD/YYYY
      FileName           Name of the file as maintained in the ordinary course of business
                         with extension
      MD5Hash            The Computer-generated MD5 Hash value for each Document
      NativePath         The path to the native-format file corresponding to each Document
                         on the delivery media, including the file name (if a native-format file
                         is provided)
      TextPath           The path to the corresponding text file for each Document on the
                         delivery media, including filename

                   viii. “Producing Party” refers to the Party producing Documents.

                   ix.   “Protective Order” refers to the “Order for the Production of Documents

                         and Exchange of Confidential Information,” ECF No. 167.

                     x. “Social Media Account” shall mean an account on any forum, website,

                         application, or other platform on which persons can create, transmit, share,

                         communicate concerning, or comment upon any information, ideas, or

                         opinions, or otherwise engage in social networking. Without limiting the

                         foregoing in any manner, and by way of example only, the following are

                         social media platforms: email, comment sections of websites, Facebook,

                         Discord, Reddit, Imgur, SnapChat, Instagram, Google+, 4chan, 8chan,

                         Twitter, Tumblr, Youtube, and instant messaging services such as Signal,

                         WhatsApp, Messenger, Hangouts, or Skype. Without limiting the

                         foregoing in any manner, and by way of example only, the following are

                         methods of using social media platforms: uploading, posting, commenting,

                         reacting (e.g., “liking” a post), and sharing.




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                     xi.     “Third Party Discovery Vendor” shall mean a company capable of

                             undertaking the obligations set forth herein that is in the business of

                             conducting forensic examinations of Electronic Devices for the purposes

                             of collecting and preserving ESI, as well as determining whether any ESI

                             has been deleted or lost. 1

  II.      COLLECTION AND IMAGING OF DOCUMENTS 2

           3.       Engagement of a Third Party Discovery Vendor for Plaintiffs: Within 21 days of

  the entry of this Stipulation and Order, to the extent they have not already done so, Plaintiffs

  shall engage, at their own expense, a Third Party Discovery Vendor to conduct the collection and

  production of ESI from Plaintiffs’ Electronic Devices and Social Media Accounts required by

  this Stipulation and Order.

           4.       Engagement of a Third Party Discovery Vendor for Defendants: Within 21 days

  of the entry of this Stipulation and Order, the Parties shall engage, at Plaintiffs’ expense, a Third

  Party Discovery Vendor to conduct the collection and production of ESI from Defendants’

  Electronic Devices and Social Media Accounts required by this Stipulation and Order. Pursuant

  to the Court’s November 13, 2018 Order, ECF No. 379, such engagement shall be without

  prejudice to Plaintiffs’ ability to seek to recover from Defendants expenses arising from this

  engagement at a later date. This Stipulation and Order does not obligate Defendants to pay any

  fees or costs incurred by the Third Party Discovery Vendor at this time, and does not prejudice




  1
    Examples of such companies include, but are not limited to: Epiq Systems, Inc.; RVM Enterprises, Inc.;
  KLDiscovery; kCura; and FTI Consulting.
  2
    Due to his current incarceration, the deadlines in Section II shall not apply to Defendant Fields. Plaintiffs and
  Defendant Fields will enter into a separate stipulation and proposed order as to the timing to be applied to Defendant
  Fields.



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  Defendants’ rights to oppose any request made by Plaintiffs to recover those expenses, any such

  obligation to be determined at a later date.

         5.      Identification of Sources of Documents: Within 14 days of the entry of this

  Stipulation and Order, the Parties shall complete the Certification attached as Exhibit A (the

  “Certification”) and provide such Certification to opposing counsel.

         6.      Defendants’ ESI: Within 7 days of receipt of the Defendants’ Exhibit A’s,

  Plaintiffs shall identify those Electronic Devices and Social Media Accounts that the Third Party

  Discovery Vendor shall image and collect. Within 28 days of the entry of this Stipulation and

  Order, Defendants shall make available to the Third Party Discovery Vendor for imaging and

  collection any Electronic Device or Social Media Account identified on Exhibit A and selected

  by Plaintiffs pursuant to this paragraph.

         7.      Plaintiffs’ ESI: Plaintiffs have already collected and preserved ESI with the

  assistance of a Third Party Discovery Vendor and will indicate on the Certification which

  Electronic Devices and Social Media Accounts identified on the Certification were imaged and

  collected. Should a particular Electronic Device or Social Media Account identified on the

  Certification not have been collected and/or imaged by Plaintiffs, Defendants may, within 7 days

  of receipt of the Plaintiffs’ Exhibit A’s, identify those additional Electronic Devices and Social

  Media Accounts that the Third Party Discovery Vendor shall image and collect. Within 28 days

  of the entry of this Stipulation and Order, Plaintiffs shall make available to the Third Party

  Discovery Vendor for imaging and collection any Electronic Device or Social Media Account

  identified on Exhibit A and selected by Defendants pursuant to this paragraph.

         8.      Identification of Responsive Documents by Defendants: Following the imaging

  and collection of the Documents contained on Electronic Devices and Social Media Accounts




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  identified on Exhibit A and selected by Plaintiffs, Defendants shall review the results of the

  collection and produce to Plaintiffs those non-privileged Documents that are responsive to the

  Discovery Requests in the manner set forth in Paragraphs 10-18 below. Prior to conducting the

  review of the results of the collection, Defendants shall disclose to Plaintiffs any search terms or

  date ranges used to limit the review population. Should Plaintiffs have an objection to the search

  terms or date ranges applied by Defendants, Plaintiffs shall note such objection by email and the

  Parties shall confer within one week to attempt to resolve any dispute. In the event that a dispute

  between the Parties remains following the meet and confer, the Parties shall submit to the Court

  a joint email setting forth the nature of the dispute for the Court’s resolution.

         9.      Identification of Responsive Documents by Plaintiffs: Following the imaging and

  collection of the Documents contained on Electronic Devices and Social Media Accounts

  identified on Exhibit A and selected by Defendants pursuant to Paragraph 7, Plaintiffs shall

  review the results of the collection and produce to Defendants any non-privileged Documents

  that are responsive to Defendants’ discovery requests in the manner set forth in Paragraphs 10-18

  below. Prior to conducting the review of the results of the collection, Plaintiffs shall disclose to

  Defendants search terms or date ranges used to limit the review population. Should Defendants

  have an objection to the search terms or date ranges applied by Plaintiffs, Defendants shall note

  such objection by email and the Parties shall confer within one week to attempt to resolve any

  dispute. In the event that a dispute between the Parties remains following the meet and confer,

  the Parties shall submit to the Court a joint email setting forth the nature of the dispute for the

  Court’s resolution.

  III.   FORMAT OF PRODUCTION OF DOCUMENTS

         10.     When producing Documents responsive to Parties’ discovery requests, Producing

  Parties shall produce such Documents in the following manner:


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         11.   Production Format:

                  i. For word processing files (e.g., Microsoft Word): Comments, “tracked

                     changes,” and any similar in-line editing or hidden content will be

                     produced. Such files must be produced in native format with the only

                     alteration being the addition of Bates numbers, unless the file can be

                     produced as a pdf or TIFF file in a manner that preserves the metadata of

                     the original word processing file.

                  ii. For presentation files (e.g., Microsoft PowerPoint): Speaker notes,

                     comments, and all other hidden content will be produced. Such files

                     must be produced in native format with the only alteration being the

                     addition of Bates numbers, unless the file can be produced as a pdf or

                     TIFF file in a manner that preserves the metadata of the original

                     presentation file.

                 iii. For spreadsheet files (e.g., Microsoft Excel): Hidden columns, rows, and

                     sheets, comments, “tracked changes,” and any similar in-line editing or

                     hidden content will be produced. Such files must be produced in native

                     format with the only alteration being the addition of a Bates number to

                     the file name.

                 iv. Text messages, instant messages, e-mails, and social media postings

                     (e.g., Facebook activity): Such files will be produced as pdf or TIFF

                     files with optical character recognition (“OCR”). The Bates number

                     will be affixed at the lower right-hand corner of the PDF or TIFF files.




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                      v. Media files, including audio, videos and photographs: Such files may be

                          produced in native format with the only alteration being the addition of a

                          Bates number to the file name.

                      vi. For PDFs: Such files will be produced as PDF or TIFF files with optical

                          character recognition (“OCR”) and Bates numbers.

                     vii. For hard-copy Documents: Such files will be produced as PDF or TIFF

                          files with OCR and Bates numbers.

                    viii. For any and all ESI, Documents shall be produced with all metadata

                          intact to the maximum extent possible. Where necessary to preserve

                          metadata that cannot be produced as a result of the production formats

                          listed above, or that cannot be produced with the Document for any other

                          reason, the Producing Party will affix as the final page of the Document

                          a description of the metadata.

          12.     Segregation of Documents: Documents to be produced that are segregated or

   separated from other Documents, whether because the Documents were located in binders,

   separate files, segregated by dividers, tabs, or clips or otherwise segregated or separated, will be

   produced in a manner that reflects these divisions. Without limiting the foregoing, the Parties

   specifically agree that:

                       i. In scanning paper Documents, distinct Documents should not be merged

                          into a single Document, and single Documents should not be split into

                          multiple Documents (i.e., paper Documents should be logically unitized as

                          found in the source Document). The Parties will make their best efforts to




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                         unitize Documents correctly and agree promptly to address situations

                         where there are improperly unitized Documents.

                     ii. Parent-child relationships (the association between an attachment and its

                         parent Document) should be preserved and appropriately reflected in the

                         metadata if identified in the source Document. Bates numbering of a

                         parent Document and any attachments shall be sequential such that a

                         parent Document has the lowest value Bates number when compared to its

                         attachment(s).

                     iii. If any portion of a Document is responsive, the entire Document should be

                         produced.

          13.     Bates Numbering: Documents shall be produced Bates-stamped. Bates numbers

   shall be unique IDs with a prefix that can be readily attributed to the Producing Party. Bates

   numbering should be sequential. The Parties agree to use placeholders (e.g., “intentionally left

   blank” pages), rather than skipping Bates numbers in production. Bates numbers shall be

   provided on the lower right-hand of each page.

          14.     Treatment of Attachments: Where attachments to Documents are produced, they

   shall be attached in the same manner as found in the original Document. Where Documents are

   produced and all attachments thereto are not included, the Producing Party shall identify the

   missing attachments by means of a one-page “place holder” document for each missing

   Document and assign a Bates number to that page, consistent with the Bates number protocol in

   this Stipulation and Order. For each missing attachment, the Producing Party shall provide a

   description of the attachment, type of document, title, number of pages, and explain the reason

   for its non-production, with information sufficient to allow the Party requesting the production of




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   the Document to understand the basis for the non-production and to challenge it in Court, if

   appropriate.

   IV.     REDACTION OF DOCUMENTS

           15.    Producing Parties may only redact the content of Documents to the extent the

   content is: (a) subject to the attorney-client privilege, work-product doctrine, or any other

   privilege; (b) information that is not responsive to any discovery request.

           16.    To the extent that a Document is produced in redacted form, any redactions shall

   be clearly indicated on the face of the Document and each page of the Document from which

   information is redacted shall bear a designation that it has been redacted and the reason for the

   redaction. As an example, “Redacted for Privilege,” “Highly Confidential – Redacted” when

   producing Documents to Pro Se Parties, or “Redacted as Non-Responsive.” Where a responsive

   Document contains both redacted and non-redacted content, the Producing Party shall produce

   the remainder of the non-redacted portions of the Document. Only where redactable content is

   predominant in a Document and no potentially relevant unredacted material responsive to a

   discovery request for production remains in the Document shall a Party be exempted from

   producing the Document in redacted form (i.e., the Party can withhold the Document in its

   entirety).

           17.    Documents that are to be produced in a native format but require redactions may

   be produced with the relevant text replaced with “[REDACTED]” or black overlay concealing

   those portions of the Document.

           18.    The production of a Document in redacted form does not affect the Producing

   Party’s obligation to properly document and substantiate the assertion of privilege over the

   content on a privilege log. Any Party that produces Documents containing redactions for

   privilege or withholds Documents on the basis of privilege shall create a privilege log that


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   complies with the requirements of Federal Rule of Civil Procedure 26. All redactions must be

   logged by the Producing Party on the privilege log.

   V.     MISCELLANEOUS

          19.     Except as specifically set forth herein, this Stipulation and Order does not alter or

   affect the applicability of the Federal Rules of Civil Procedure or Local Rules for the Western

   District of Virginia to this matter. Nor does this Stipulation and Order address, limit, affect,

   determine, or have any bearing on the relevance, discoverability, or admissibility as evidence of

   any Document, regardless of whether the Document is to be preserved, is preserved, or is

   produced pursuant to the terms of this Stipulation and Order.

          20.     This Stipulation and Order is without prejudice to any Party’s properly made

   objections to requests for production on any ground permitted by the Federal Rules of Civil

   Procedure.

          21.     All obligations in this Stipulation and Order are continuing obligations. As such,

   for every new email address, mobile phone device, computer, external storage, social media

   account, or other communication platform created or obtained during this Action, the relevant

   obligations in this Stipulation and Order apply and require an updated Certification from each

   Party confirming that they have completed their obligations under this Stipulation and Order.

          22.     This Stipulation and Order does not alter any obligations or rights that may be

   contained in the Protective Order.

          23.     Nothing in this Stipulation and Order shall be deemed a waiver of any Party’s

   right to object to the production of any Document on the basis of relevance, materiality,

   privilege, overbreadth, burden, proportionality, or any other recognized objection to discovery.

          24.     Nothing in this Stipulation and Order shall be deemed to either diminish or

   eliminate the general obligation to identify and preserve potentially relevant information, nor as a


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   waiver of any Party’s right to seek any appropriate relief for spoliation or any failure to preserve

   or to otherwise seek appropriate relief from this Court.

          25.     Any Party may seek a modification to this Stipulation and Order from the Court

   for good cause shown.

          26.     Any obligation to preserve Documents or ESI contained in this Stipulation and

   Order shall continue throughout the pendency of this litigation, including during the pendency of

   any appeals or time in which a Party may appeal.


   So Ordered:




                                                                 11/19/18
   ______________________________                                _____________________________
   Magistrate Judge Hoppe                                        Date




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                    EXHIBIT A TO STIPULATION AND ORDER FOR THE
               IMAGING, PRESERVATION, AND PRODUCTION OF DOCUMENTS

          Consistent with the obligations under the “Stipulation and Order for the Imaging,

   Preservation, and Production of Documents,” I certify that:

          1.      The following are all the Social Media Accounts, as defined in ¶ 2(xi) of the

   Stipulation and Order, that contain potentially relevant Documents:

   Username             Provider/Platform    Nature of Responsive Documents on Account




          2.      The following are all the Electronic Devices, as defined in ¶ 2(vi) of the

   Stipulation and Order, that I have possessed since January 1, 2017 that may contain any

   potentially relevant Documents or ESI:

   Device Type (e.g.,   Size (e.g., 32 GB)   Nature of Responsive Documents on Device
   iPhone 7)




          I certify under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.

   Executed on _____________.

                                                        _________________________________

                                                                         Party
